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IN THE UNITED STATES DISTRICT COURT

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NORTHERN DISTRICT OF TEXAS

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DALLAS DIVISION DEPUTY ULEM\—
CHERYL YVETTE JERNIGAN §
Plaintiff, §
§
V. § No. 3:22-cv-02580-N (BT)
§
CHARLES B. McMILLAN, et al., §
Defendant, §
§

BRIEF IN SUPPORT OF MOTION FOR TEMPORARY
RESTAINING ORDER/PRELIMINARY INJUNCTION

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE OF SAID COURT:
COMES NOW CHERYL Y. JERNIGAN, PLAINTIFF, in the above-styled and numbered
complaint, and files this brief in support of its position that Plaintiff need a TRO.

SUMMARY of ISSUES

ABOUT ME

1.1 Am Cheryl Y. Jernigan *AKA* Toothless Tiger, YouTube Influencer, I have had my

channel since February 2013; on June 26, 2021, I launched my own individual YouTube videos,
after being inspired to start making videos by Ex-NBA Player Kwame Brown *AKA* BustLife
Inc., who stated he was about building up our people and our communities, and to help our sons

read higher than a 4" grade level.

2. 1 came to YouTube to help uplift fallen humanity and to share my 63 years of life experiences,

as well as sharing my last ten-years of learning, ““Who we were before we were called slaves.” I

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have spent most of my working life in public service, with my last job being a Revenue Officer
for the U.S. Department of Treasury Internal Revenue Service, I retired March 23, 2011, due to

my many disabilities.

3. 1 Am a member in several protected groups. My gender, age, race, nationality, and beliefs; my
channel has nothing to do the roasting and critiquing of others. I have never had a problem with
being flagged for my content or privacy issues until the bullying and defamation started.
Currently, my only son is being called all kind of derogatory homosexual names, he is

heterosexual, a horrible father, he has no children and a scammer;

4. Who has a web page telling people he can get them $1,000.00 a day, he has no such media
page; there are pictures and a video posted of my nephew between the ages of 5 to 6 years old
and calling him gay. There is the doxing of my home-vehicle- phone number- government name
and court documents being posted on YouTube; there are pictures that were taken from my

Facebook page account;

5. Speaking of maggots eating my deceased mother’s flesh; a picture of my father stating he
went between my legs every night, and a picture of my deceased brother stating he fathered my
only child; there is inciting of violence against my son, nephew, sister, me, and my moderator
Asatur *AKA* Ass, Bagaryan. I have become content for Defendant Charles McMillan he

constantly violates YouTube community guidelines, and he streams my live videos;

6.At least for the past two and a half months, I Am reaction content for he and many individuals
BRIEF IN SUPPORT OF MOTION FOR TEMPORARY RESTAINING ORDER/PRELIMINARY INJUNCTION -2

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who call themselves Skinny Gang Members they talk about me but tell me I better not speak on
them or they are going in on me, all of this for some of them, personal financial gain and
intentional infliction of emotional distress, causing me irreparable injury, embarrassment,

intimidation, and possible death to my family and me.

DEFAMATION

7. On November 01, 2022, Defendant Charles B. McMillan announced to the World via
YouTube a that I, Plaintiff Cheryl Y. Jernigan *AKA* (Toothless Tiger) “Is A Child Predator,”
causing me Intentional Infliction of Emotional Distress, the above styled cause is a “Defamation,
Cyber-Bullying, Cyber-Stalking, Cyber-Harassment case. Belcalis Almanzar v. Latasha Kebe,

Case No. 1-19-cv-01301-WMR

8. On November 07, 2022, He made another video repeating that “Yes you are a Child Predator,
I believe you are, yes you are a Child Predator.” He called me Yeast Infection Mouth and I have
no such medical condition, and that I preyed on children because it happened to me and all I do

is talk about people children, Unbreakable Kicks, LLC et al v. McMillan (3:21-ap-80029)

CYBER-BULLYING, STALIKNG AND HARASSMENT

9. On August 21, 2022; he made me his #1 public enemy and after that day, I lost approximately
20 Subscribers, and I have gained them back over time. Charles B. McMillan started making
videos about me almost daily and held panels about me. He was joined by individuals who self-
identify as Skinny Gang Members on YouTube, who appear to display Cult like behaviors, many

content creators and moderators started making videos about me;
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10. Holding panels about me to discredit, embarrass, and intimidate me. I have never had words
with any of these individuals. They would talk about me and state that I could not say their
names, or they were going in on me and they did daily. I Am being threatened by Mr. McMillan
and StraightTalk TV, who lives in the Dallas / Ft. Worth area he; states we should be fearful of
him and to get angry at the United States Government, because they are the ones that trained him
for war, he states he is an Armed Forces Veteran; United States Of America V Ramajana Hidic

Demirovic, Case No: 3:21-Cr-00133-Vc

11. Who suffers with PTSD and smokes marijuana online daily; Mr. McMillan also smokes
marijuana daily and he says it is for medically the sporadic outburst, name calling, and postings
causes me to be fearful for myself and my family of an irreparable injury; embarrassment,
intimidation and or death from I do not know who, might try to carry out the visceral hate

displayed against me daily;

12. Mr. McMillan and his alleged Convict YouTube Cult Gang Members constantly promotes to
their chats that all I do is talking about people children after Mr. McMillan announced to the
world that I Am a Child Predator; these issues arise from the Defendant Charles B. McMillan,
*AKA* on YouTube as (Mr. Skinny TV, Mr. Skinny Da Don, Mr. Skinny Gaming and Real

Truth)

13. In approximately August 2021, I met Charles B. McMillan and his Gang Members via
YouTube in the chat of what is known as the BustLife Sector of YouTube. Meaning we all came

together as individuals, supporting Kwame Brown, who was the number one draft pick from
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High School *AKA* (BustLife Inc), on YouTube and I frequented different chats including

Charles McMillan’s (Mr. Skinny TV);

14. In March of 2022, Charles McMillan and Kwame Brown had a parting of ways because of
Charles McMillan calling several Asiatic Moor American Women (also known as Black
Women) “Bitches, Hoes, Dick Suckers and many other veil names. He later stated that he would
“Piss on Kwame Brown’s Deceased Mothers’ grave.” I did not like what he said to Kwame and

shared that with him when he called her a prostitute.

15. I supported Mr. McMillan in his chat and donations; he asked me for my phone number and
on March 15, 2022, I sent it to him via email, he called me Ma, we did not speak much.
On June 10, 2022, he called and asked me if I would be his manager, I stated no, because I know

nothing about managing anyone; and my son called while we were on the phone;

16. I asked my son to speak with him to assist him, he has an MBA; Mr. Mc Millan said he
would get back with us and he never did. There was a story he covered as a reaction about
another content creator *AKA* Sister T, on YouTube that said she scammed a lady out $500+, at
the time he had gone to court with content creator *AKA* Queen Regina and preparing to attend

court;

17. With both Sister T, and Queen Regina, they were accusing each other of being crooks and
scammers calling each other all kind of pernicious names. As a supporter of his, subscriber,

donator, and member to one of his channels, I researched and found the article is not real
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according to the rules of the platform, “The Rip-Off Report.” I told Mr. McMillan what I had

found and sent the information to him via text;

18. It seems that Mr. McMillan has been in mutual combat with several women since February
2022, content creators *AKA* Mom Boss Mayo, *AKA* Queen Regina, *AKA* Sister T,
*AKA* Ms. 504, *AKA* Doe Eyes, *AKA* Keep The Change, *AKA* Lonnie 1 Love, *AKA*

SkyAtticus Jones, *AKA* Elle Rene, *AKA* The real Soo_alicia.

19. Mr. McMillan said he has a group of individuals that dox individuals, a group that flag
individuals, a group that threatens individuals, and their families, a group that make videos about
people, a group that hold panels about people, and a group that posts information on their
community walls and make short videos from pictures they take off your Facebook and
Instagram pages and have been doing this for years. I received two obscene text from two

different numbers.

20. He calls his second in command *AKA* Suthngotti on YouTube, the Oracle, and she states
that she and skinny are the ultimate trolls. Suthngotti handles the Discord operations recruitment.
Suthngotti, operates in the background she is his Lead Moderator and controls the women
moderators as they go to the new gamer content creators (young men) and befriend them; they

bring up to 20 or more fake subscribers by using different usernames per emails;

21. In the gamers chats that they moderate for and finesse the young men into giving them

money; and after a while they ghost them, which is what I discovered in August of 2022 was
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happening to a gamer who confided in me, *AKA* BMK21 with a moderator *AKA* Go-
Getter.

22. Mr. McMillan, has an established pattern documented on video of when you come on
YouTube as a new content creator, he sends a group of people to help you with your thumbnails,
intros/outros, drops, and moderate for you; all the while they befriend you, learn of your life, and

then he turns on you and so does your help.

23. All for Mr. McMillan’s’ financial personal gain, intentional inflicting emotional distress by
discrediting you to his chat, and Gang members, and everyone turn on you and start bullying
you, stalking you, take pictures of your chat comments and post them, harass you constantly.
Charles McMillan was doing all of this while he was going to court with content creator *AKA*

Co-Defendant Dammn Dee v. *AKA* Unbreakable Kicks;

24. In addition, he accuses everyone that he chooses to turn on of speaking on his wife and
children. Before he turned on me on August 21, 2022, we never had a bad word between us, he
called me Ma. From February to August a six-month period, I gave to him through donations
$722.33 and his Lead moderator *AKA* Suthngotti, who befriended me, and I ended up giving

her $831.00 through that same six-month period,

25. Both say they never liked me, they were just using me, there is a room known as the Discord
where they meet up and plot and plan what they are going to do, Charles McMillan is very scary
because he wishes death on me and Asatur often, and he recently stated on video on or about

January 12, 2023, in 2018 the unexplained deaths of D. Reynolds and J.C for beefing with him;
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26. In January 2023, e also spoke on his 3" in command content creator *AKA* TY Rhea, who
made an announcement two months prior in December 2022, he was going to Atlanta to fight
content creator *AKA* Armondo Black, on February 23, 2023. On February 23, 2023, he landed
in Atlanta, and he showed a picture of the front of Mr. Blacks home taken on February 24, 2023,

which he showed on YouTube;

27. He stated he would pull up to Mr. Black wife’s job and his daughters’ school and he went to
a Taco Bell where he thought the daughter worked. He then visited the establishment that Mr.
Browns alleged Girl Friend *AKA* JJ Londyn works and he danced in front of the Club, he

went inside and was escorted out by the Bouncer’s;

28. On February 25, 2023, he was giving out the information as to where he was, in Atlanta and
received a visit at the Crafty Crab Restaurant from Ex-NBA Player Kwame Brown due to TY
Rhea, asking people in the various chats to send him Mr. Browns’ home address; and. He stated
several times he was going to Sea Salt Restaurant, where Mr. Brown and his family frequents

near Mr. Browns home;

29. Mr. Rhea stated he was going to the home of content creator *AKA* Armondo Black, ring
his doorbell and pull him out to beat him. He stated he was going by Queen Regina house and
put a sticker on her mailbox and take pictures. Posted on Real Truth community wall a picture of
Queen Regina’s head in a scarf stating $10k for person who beings back the scarf with a bullet

hole in it.

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30. In the past month content creator StraightTalk TV, has threatened to have me beat down by
his wife (hypothetically) like pulling along side of me and beating me down once we stop; and
they would pull up on me at the grocery store and he would allow her to beat me to the ground. I

have a video clip where he has threatened to kill my son and my nephew;

31. He stated we are in the same town, and we do not have to do this online; we should be glad

that he is not the way he used to be, he would make us come up out of this house.

32. Mr. McMillan has a habit of inciting violence, he has asked when someone will go and beat
Mr. Black up for putting content creator *AKA* Life Talk with Rainees’ address out making it

unsafe for her, her daughter and granddaughter.

33. On March 05, 2023, Mr. McMillan told the world on YouTube that he is the content creator
*AKA* Real Truth, he stated he told different people different things about who Real Truth is;
he told one lady it was his father, and my father is dead; then he stated I once owned that

channel, I sold it. I don’t know who might be running it now, but I know who I sold it to.

34. Real Truth has written many posts on his wall. Real Truth speaks on the death of Asatur
Bagaryan (a subscriber that spoke up against how I Am being treated) and I, he stated Mr.
Bagaryans’ children daycare could possibly catch a fire and sending Blue to the High School for

a possible massacre; these writings are very troubling.

35. Mr. McMillan stated he want to kill somebody, and he has added that to his bucket list,
BRIEF IN SUPPORT OF MOTION FOR TEMPORARY RESTAINING ORDER/PRELIMINARY INJUNCTION -9

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what’s even more frightening, with his Cult like following and Straight Talk TV, verbally

attacking me like he does in defense of Charles McMillan, really gives me reasons for concern.

36. StraightTalk TV has a Deadly Conduct “DI SCH FIREARM INDIV” 3" Degree Felony
04/24/2011; Assault Causes Bodily Injury Family Member 06/01/2018 arrest date 07/03/2018,
Class A Misdemeanor; 4 City of Arlington Active Arrest Warrants Ran Stop Sign, Ran Red
Signal, Driving While Texas License is Invalid, Fail to Maintain Financial Responsibility-

Subsequent Violation;

37. Mr. McMillan has been convicted of and has served 1 1-years of a 13-year sentence in the
SCDCJ for Armed Robbery, 12/17/1996 to 07/13/2007, in the past year he has been taken to
court twice for TRO in the Justice Court of SC by Queen Regina and Sister T’s, and once for

Defamation by *AKA* Unbreakable Kicks,

38. On March 14, 2023, for Criminal / Traffic Court -0659 Drugs / Poss. Of 28g (1 0z) or less of
marijuana or 10g or less of hash — 1* offense. Mr. McMillan where he paid a fine and sometime
between 2021 — 2022 he was accused of PPP Loan Fraud by the U.S. Department of Treasury /

IRS, where he repaid approximately $25,000.00 or more in 2022.

39. TY Rhea and content creator *AKA* Southside TV, both have histories of Domestic
Violence Allegations; content creator Suthngotti has a history of a theft charge and a conviction.
It seems to me that most individuals that I believe to be Skinny Gang Members have some sort of

criminal histories, which is scary to me and having my home & my address, phone number, and
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government name on YouTube is very scary;

40. It causes a reasonable person to fear the possibility of irreparable injury, what is more
frightening is when I file any documents with the court there are several documents posted on
Real Truth Community Wall that gives information of people’s names to intimidate and

embarrass me.

41. Defendant Mc Millan continues to stalk, bully and harass me, by coming into my chat,

flagging my videos falsely as late as April 09, 2023.

42. Defendant YouTube has Community and Guidelines, but nothing has happened in most times
when I have attempted to Flag Defendant McMillan. They state that none of this is tolerated on
YouTube, but I have endured bullying, harassing, stalking and threats since August 21, 2022.

Respectfully submitted,

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Cheryl Ys Jernigan ~~
1443 Morrell Ave
Dallas, Texas 75203
(214) 557-4296
cyjern@gmail.com

BRIEF IN SUPPORT OF MOTION FOR TEMPORARY RESTAINING ORDER/PRELIMINARY INJUNCTION -11

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Certificate of Service

On April 12, 2023, I filed the foregoing document, with the clerk of court for the U.S. District
Court, Northern District of Texas. I hereby certify that I have served the document on all

counsel and/or pro se parties of record by a manner authorized by Federal Rules of Civil
Procedure 5 (b)(2)

PLAINTIFF TRO BRIEF AND AFFIDAVIT IN SUPPORT, AND PLAINTIFF EXHIBITS,
PROOF OF SERVICE ON CHARLES MCMILLAN, MR SKINNYTV & MR. SKINNY DA

DON & EXHIBITS...
f
lind Fe

Cheryl ¥. Jeémigan Pro-

Certified Mail #7022 3330 0001 5731 3145
Charles B. McMillan

224 DooLittle Dr.
Chapin, S.C. 29036

Certified Mail #7022 3330 0001 3152

SUNDAR PICHAI

GOOGLE LLC.,

GOOGLE HEADQUARTERS

1600 AMPHITHEATRE PARKWAY
MOUNTAINVIEW, CA 94043, USA

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IDENTITY OF PARTIES AND COUNSEL

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CHERYL Y. JERNIGAN PRO-SE PLAINTIFF Page 1

CHARLES B MCMILLAN DEFENDANT Page 1
a/k/a MR. SKINNY TV LLC.

MR. SKINNY DA DON

SUNDAR PICHAI, CEO of GOOGLE DEFENDANT Page |

d/b/a YOUTUBE

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CASES

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2. Unbreakable Kicks, LLC et al v. McMillan (3:21-ap-80029)
3. Sanders v. Walsh 219 Cal.App.4th 855 (Cal. Ct. App. 2013)b

4. Creatively Disruptive, LLC v. Nat'l Inc. Network, Inc.,
Case No.: 18cv720-WQH-KSC, 8 (S.D. Cal. Oct. 5, 2018) (** Overstock”)

5. Snavely v. Booth, 6 W. W. Harr. 378, 176 A. 649;

6. Schwimmer v, Commercial Newspaper Co., 131 Misc. 552, 228 N.Y.S. 220, 221

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7. Themo v. New England Newspaper Pub. Co., 306 Mass. 54, 27 N.E.2d 753, 755. Page 3

Bullying, Stalking and Harassment

8. United States of America V Ramajana Hidic Demirovic, Case No: 3:21-Cr-00133-Vc Page 4

9. FRAUDULENT REPRESENTATION But a promise made without intent to perform Page 5

constitutes "fraudulent representation," which affords ground for rescission.

Mitchell v. Mitchell, 206 N.C. 546, 174 S.E. 447, 448.

10. Child predator means a person who has been convicted of a criminal offense against Page 4

a victim who is a minor, as defined in Paragraph (12).

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APPLICABLE LAWS

1. 28 U.S. Code Section §4101 — Defamation

2. 18 U.S. Code Section §2261A (2) -Cyberstalking

3.§ 37.0832 (1) Texas Education Code - Bullying

4. §42.07 Texas Penal Code- Harassment

5. 18 U.S. Code §241-Conspiracy Against Rights

6. 18 U.S. Code §223 (c)- Obscene or Harassing Telephone Calls

7.18 U.S. Code §875-Interstate communications

8. 18 U.S. Code §1341- Frauds and Swindles

9. First Amendment to Constitution- Freedom of Speech

10. Fourteen Amendment to Constitution- Life, Liberty, and Pursuit of Happiness

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STATEMENT OF CASE

Defendant McMillan called me a Child Predator on November 01, 2022, on YouTube stating I
was interested in his kid’s bikes, and he has been harassing me since August 21, 2022, we are
YouTubers, he has more than 62K on one channel, and 22K on his second channel; he states that
YouTube took his other two channels... he has what I believe to be an online Convict YouTube
Cult Gang; a/k/a the Skinny Gang, many of the people in his close circle have criminal records
from misdemeanor drug charges, domestic violence, theft, to felony charges. I started being
attacked by more than 20-30 content creators and subscribers on behalf of Defendant
McMillan...My family has been defamed, my son and I called scammers by Defendant
McMillan and his associates; my family and I have been threatened violence and even death, and
he continues to wish death on me as late as April 11, 2023. I started trying to use the YouTube
measures for this type of behavior and I do not know if any of the videos and distorted pictures
put up as thumbnails to embarrass, intimidate and antagonize worked; yet I continued to show up
for my show twice a week in a very hostile environment. Defendant McMillan and his team of
flaggers started flagging my videos; many were deemed as false-flags and I was able to monetize

my videos by airing commercials on my videos.

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STAEMENT OF JURISDICTION

4 ||I domicile in Dallas, Texas, where I Am a Citizen in the State of Texas, The Defendant Mc-

Millan, domiciles Chapin, SC and is a Citizen of the State of South Carolina, and The Defendant

6
7
Pichai, Corporate Headquarters are in Mountain View, CA., and is a Citizen of the State of
8
° California, USA; Because of the Diversity of Citizenship, and the dollar amount is over
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11 ||$75,000.00; this Court has Jurisdiction for this case.

STATEMENT OF FACTS

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The fact is that Defendant McMillian has a proven history of attacking individuals’ women over
the age of forty, by degrading them, asking his chat to join him of the person; he accuses you of
being a scammer, thief, liar and deceptive. He asks his chat to go and unsubscribe from me and
others and he has more subscribers than the individual he attacks. He attacks men and women; he
wishes death on you, he lies on the sexuality of the individual an their children; he accuses you
of using drugs and I Am the first woman that he called a Child Predator; he has a selected few in
his chat that he influences to carry out his mission to intimidate and destroy you by doxing your
home, auto, finance documents that are public record, but is not known to the public because
most people only know your YouTube name; he create accounts to post derogatory and
disparaging things about the content creator, subscriber, spouses, children and siblings. He has
been to court on several occasions, and he has prevailed because of the Venue and Jurisdiction,
or he has filed Bankruptcy. He has people threatening to kill you and your family and he affects
your money with the false flagging. YouTube has allowed him to have four (4) monetized
channels to terrorize up and coming YouTubers, he befriends you and takes you money in the
guise of liking you making you think you are respected and liked by him, because he calls you
affectionately “Ma” only to say he was using you and he has never liked you and then he turns
on you. He makes fun of child molestations, offers to urinate, and defecate on your deceased
family member’s grave; he encourages his Skinny Gang to make videos about you daily and hold
panels about you daily. He states that two men have unexplained deaths for beefing with him, he
is always hurling threats and inciting violence. YouTube allows him to stream my videos live
and the few times I have tried to strike him they need more information; they do not make it easy
for us to get access to them. Yet I must add Defendant McMillan states that YouTube has

demonetized him and took one of his channels in the past two weeks and he has not been using
TRO BRIEF - 8

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one of the channels that he dedicated to degrading me. He tells lies to individuals to impugn my
reputation. Defendant McMillan brags on how he mistreats people and how he receives make the
haters mad donations to mistreat you. He stated he would pay me back the money I gave him up
to $1,000.00 if I could prove I gave him $600.00, I proved I gave him $722.33 in 6-months, and
he hit me with a privacy strike and made several humiliating videos about me. He has a new
collaborator that runs plays on us and right now they are both double teaming me. Defendant
McMillan has cost me members, subscribers, and donations. He is dangerous and deceptive, and
his actions have shown this, he charges people for wrenches and to be on his platform and then
charges people $50.00 to knock the people off. Mr. McMillan stated he bought my drops, intro
/outro music, and my avatar. Defendant McMillan gets on YouTube and tells his chat to deal
with me for lying about a fake lawsuit. He consistently intentionally inflicts emotional distress

on me. He states he is taking down my channel.

Ill
PRAYER

TRO BRIEF - 9

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WHEREFORE PREMISES CONSIDERED, plaintiff prays respectfully that after consideration

of BRIEF FOR TRO the Honorable United States Magistrate Judge will grant me, permission for

the TRO to keep Defendant McMillan from posting documents from the case and giving a false

narrative about me; stop Defendant McMillan from encouraging his chat members to stop me

from lying about a fake lawsuit and scamming people out of money and to stop Defendant

McMillan to keep saying I AM going to be dead in a few weeks and someone will take care of

me.

Cheryl Y.Jernigan %

1443 Morrell Ave
Dallas, Texas 75203
(214) 557-4296
cyjern1026@gmail,com

TRO BRIEF - 10

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EXHIBIT (1) PAGE 1 of 1
AFFIDAVIT

THE STATE OF TEXAS
COUNTY OF DALLAS

“My name is CHERYL Y JERNIGAN, I am over twenty-one (21) years of age, of sound
mind; capable of making this Affidavit, and personally acquainted with the facts herein

stated.

AFFIDAVIT

I Am submitting this Affidavit in support of my brief required by the Court to consider granting
my Motion for a Temporary Restraining Order. I Am being bullied, harassed, and stalked by
Content Creators on YouTube; mainly by Defendant McMillan, several of the individuals that
once claimed Skinny Gang are no longer affiliated with the Organization as they have since
February 23. 2023, been feuding; a/k/a TY Rhea, Southside TV, StraightTalk TV, Empress
Lonnie 1 Luv and BMK21 all apologized to me for their participation for attacking me
relentlessly without a cause on behalf of Mr. Skinny TV... I was terrorized by some of these
same people who embarrassed, humiliated, threatened, made videos and hold panels to impugn
my character and reputation. Defendant McMillan has really gotten brazen and comes into my
chat and taunts me, then he goes back to his platform the next day to lie and as he states to make
money off me. He has made me his content, since Aug 21, 2022; it is scary as most of the people
that claims or claimed Skinny Gang, tried to stop me on my platform from exercising my First
Amendment Right to Free Speech and my Fourteen Amendment Right to Life, Liberty and the
Pursuit of Happiness afford all Americans, | am a Monetized Content Creator on YouTube a/k/a
Toothless Tiger I have done nothing to these people, I have defended myself against all
fraudulent claims of being a Child Predator, a Scammer, Thief, Narcissist and a Fraud, which I
have been called; Defendant McMillan decided to make me his Public Enemy #1 by using all
vial manner of speech when referring to me in a pernicious and vehement way. These individuals
operates in groups and I Am a member of several protected groups; (Disabled, Woman, Moor

AFFIDAVIT IN SUPPORT OF TRO BRIEF -1

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EXHIBIT (1) PAGE (2 of 3)

American “People who are called Black” Age and Religion) YouTube has not worked for me in
honoring their Community Guidelines, Defendant McMillan encourages his 61.22k plus
subscribers on his Mr. Skinny TV channel and his the Skinny Da Don Live channel with 22.33k
subscribers, and Skinny Da Don with 57 (subscribers, that he switched with the Skinny Da Done
Live in the past couple of weeks it appears); to unsubscribe from me and others he decides he
does not like, he stream my live streams while I Am live, and he inflicts intention emotional
stress upon me for his personal financial gain; he has recently recruited a Content Creator a/k/a/
Armondo Black and subscriber Rashida Taylor they are self-proclaimed doxers, Mr. Black was
defending me against Mr. Skinny’s bullying, harassment, and stalking and now he has joined
him and he is playing my videos and calling me a bully in the name of commentary, criticism,
and educating his audience on my being a scammer and that my lawsuit against Mr. Skinny TV
being a money grab. Mr. Armondo Black who says he is a social media journalist, and a he
owns a recovery company that find people and run backgrounds on them and he says he has a
strong organization of three powerful women that he calls the Organization that uses tools like
Lexus- Nexus and other companies to purchases people criminal backgrounds real property
records and Mr. Black discloses all the different individuals that he deems as enemies and uses
as content the public and some very private information in the name of Roasting. He has joined
alliances with Mr. Skinny TV and started bullying and harassing me, by playing my videos
stating he will use my own words to take my channel down; all the while he is defaming me as a
scammer, thief, and fraud. It is my prayer that the Honorable United States Magistrate Judge,
after careful consideration of this Brief and Affidavit will grant me a TRO or permanent
Injunction to stop the bullying, stalking and harassment of these individuals while I Am in

Litigation.

Respectfully submitted, (NY, haf 4 jee

Cheryl Y. Jernigan’

1443 Morrell Ave

Dallas, Texas 75203

(214) 557-4296
Cyjernigan1026@hotmail.com

SEE: Exhibits included with Motion. This Motion has my Sworn Affidavit Attached EXHIBIT
AFFIDAVIT IN SUPPORT OF TRO BRIEF -2

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EXHIBIT 1 (3 OF 3)
AFFIANT’S DECLARATION

hey | Y. J LY fri iO 21, being presently at home in Dallas Texas; Cyber
Bullied and Harassed Online, Under Penalty of Perjury that, according to my belief, knowledg¢

and information, The Facts Stated in this Affidavit are True and Correct.

Signed on April 12, 2023.

Cheryl Y. Jernigan, Plaintiff
1443 Morrell Ave

Dallas, Texas 75203

Telephone: (214) 557-4296
cyjern1026@gmail.com

OATH BEFORE A NOTARY PUBLIC
STATE OF TEXAS
COUNTY OF DALLAS

Before me, a notary public, on this day 12" Day of April 2023; personally appeared

(he Ry Y Seknig 4 _, known to me to be the person whose name is subscribed to the
foregoing document and, being by me first duly sworn, declared that the statements therein

contained are true and correct.

(Personalized Seal)

DONNA RENAE MILLER
My Notary ID # 130558323

AFFIDAVIT IN SUPPORT OF TRO BRIEF -3

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STYLE OF CASE: Cheryl Y. Jernigan

Docket NO. Case 3:22-cv-02580 N (BN)

Date April 12, 2023, EXHIBIT BBRIEF FOR TRO
NO EXHIBIT LIST DATE

1 Affidavit for Brief 04/12/2023

